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     13                        UNITED STATES DISTRICT COURT
     14                      CENTRAL DISTRICT OF CALIFORNIA

     15                        EASTERN DIVISION - RIVERSIDE
          RAHSHUN TURNER, on behalf of             Case No. 5:16-CV-00355-VAP (DTBx)
     16 themselves and all others similarly
          situated,                                [PROPOSED] CONSENT DECREE
     17
                      Plaintiffs,
     18
          v.
     19 COUNTY OF SAN BERNARDINO,
                                                   District Court Judge Virginia A. Phillips
     20                Defendant.                  Magistrate Judge David T. Bristow
     21
          A.    Introduction
     22
                1.    The parties to this Consent Decree are Plaintiffs Rahshun Turner,
     23
          Monique Lewis, Jaime Jaramillo, Joshua Mills and the class and subclasses of
     24
          inmates they represent (collectively, “Plaintiffs”), on the one hand, and Defendant
     25                                            1
                                                                    [PROPOSED] CONSENT DECREE
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      1 County of San Bernardino (“Defendant”), on the other hand. The parties enter into

      2
          this Consent Decree to ensure the provision of constitutional medical, dental and
          mental health care, to ensure non-discrimination for inmates with disabilities and
      3
          to address uses of force and restrictive housing in the San Bernardino County
      4
          Jails.1
      5
                    2.   Plaintiffs filed this Action on February 29, 2016 and filed a Second
      6 Amended Complaint on November 18, 2016. The Action alleges that Defendant

      7 fails to provide minimally adequate medical, dental and mental health care to the

      8 people incarcerated in its jails, fails to prevent unnecessary and excessive uses of
          force against inmates and imposes on inmates the harmful and excessive use of
      9
          solitary confinement in violation of the Eighth and Fourteenth Amendments to the
     10
          United Constitution, as well as discrimination against certain inmates with
     11
          disabilities in violation of the Americans with Disabilities Act and Section 504 of
     12 the Rehabilitation Act. Defendant has denied liability. On January 27, 2017, the

     13 Court granted the parties’ joint motion for class certification.

     14             3.   The Plaintiff class consists of “all people who are now, or in the future

     15 will be, incarcerated in the San Bernardino County jails” and a subclass of “all
          people who are now, or in the future will be, incarcerated in the San Bernardino
     16
          County jails and who have a psychiatric and/or intellectual disability, as defined
     17
          under the Americans with Disabilities Act, 42 U.S.C. §12101 et seq., and Section
     18
          504 of the Rehabilitation Act, 29 U.S.C. §794.”
     19
          1
     20     For the purposes of this Consent Decree, references to the San Bernardino Jails
          include the Type I and II jails as well as the Arrowhead Regional Medical Center,
     21   to the extent it houses inmates under the jurisdiction of the San Bernardino County
          Sheriff, and any new structures designated to house prisoners under the jurisdiction
     22   of the San Bernardino County Sheriff subsequent to the date of this Consent
     23
          Decree. The parties acknowledge that, because Type I jails are very short-term
          holding facilities, certain provisions of Remedial Plan attached hereto as Exhibit A
     24   will apply only to Type II jails at which inmates are housed for longer periods of
          time.
     25                                               2
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      1 ///

      2
                 4.     Commencing in January 2015, prior to the initiation of this Action,
          the parties undertook settlement negotiations to address Plaintiffs’ claims and those
      3
          negotiations have continued. To aid in settlement negotiations, the parties agreed
      4
          to hire neutral experts to investigate and opine on the adequacy of medical and
      5
          mental health care delivered in the San Bernardino jails, as well as the extent and
      6 propriety of uses of force against inmates incarcerated by Defendant. The parties

      7 jointly selected Todd Wilcox, M.D., as the expert on medical care; Roberta

      8 Stellman, M.D., as the expert on mental health care; and Jeffrey Schwartz, Ph.D.,
          and Gary Raney, former Sheriff of Boise County, Idaho, as experts with regard to
      9
          use of force in the jails.
     10
                 5.     The experts conducted extensive tours and reviews of the jail
     11
          facilities, policies and procedures and interviewed staff and inmates. They drafted
     12 preliminary reports setting forth their findings and recommendations, and both

     13 parties were given the opportunity to review the reports and make comments. The

     14 experts thereafter submitted their final reports setting forth their respective findings

     15 and making recommendations for remedial action.
                 6.     With respect to dental care in the jails, alleged discrimination against
     16
          inmates with disabilities and policies governing restrictive housing in the jails, the
     17
          parties engaged in direct discussions without benefit or need of joint experts or
     18
          expert reports or findings.
     19          7.     The parties thereafter negotiated individual remedial plans pertaining
     20 to the matters alleged in the Action and those individual plans have been

     21 incorporated into a single, global Remedial Plan, attached hereto as Exhibit A.

     22
                 8.     Each party to this Consent Decree was represented by counsel during
          its negotiation and execution. Plaintiffs and the Plaintiff classes and subclasses are
     23
          represented by Donald Specter, Margot Mendelson and Sara Norman, Prison Law
     24
          Office. Defendant is represented by Martin H. Dodd, Futterman Dupree Dodd
     25                                              3
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      1 Croley Maier, LLP, and Miles Kowalski, Deputy County Counsel for the County

      2
          of San Bernardino.
                9.     Through this Consent Decree, Defendant agrees to implement the
      3
          measures set forth in the Remedial Plan, subject to monitoring by the Court experts
      4
          and Plaintiffs' counsel, negotiation between the parties, and if necessary,
      5
          enforcement by the Court.
      6 B.      Remedial Plan
      7         10.    Defendant shall fully implement all of the remedial measures,
      8 according to the specified timeframes, set forth in the Remedial Plan. The
          Remedial Plan is designed to meet the minimum level of health care necessary to
      9
          fulfill Defendant’s obligations under the Eighth and Fourteenth Amendments, to
     10
          ensure that unlawful force is not utilized in the jails, to avoid the unlawful use of
     11
          segregated or restrictive housing in the jails and to ensure compliance with the
     12 ADA and Section 504 of the Rehabilitation Act.

     13         11.    Defendant shall, in consultation and collaboration with Plaintiffs’
     14 counsel, develop and implement appropriate and adequate plans, policies, and

     15 practices to ensure compliance with the Remedial Plan. At least 30 days prior to
          finalizing or implementing any new plans or policies developed to meet the terms
     16
          of the Remedial Plan, Defendant will submit such plans or policies to Plaintiffs’
     17
          counsel for their review and comments. Disagreements about the adequacy of such
     18
          plans or policies shall be resolved pursuant to the dispute resolution procedure set
     19 forth paragraphs 28-31, below.

     20         12.    Not less than 90 days, and not more than 120 days, after this Consent
     21 Decree is approved by the Court, Defendant shall provide to Plaintiffs’ counsel and

     22
          the Court experts a Status Report stating whether it is complying with the terms of
          this Consent Decree. The Status Report shall include a description of the steps that
     23
          Defendant has taken to implement the Remedial Plan. Not later than the end of
     24
          each subsequent 120-day period during the term of this Consent Decree, Defendant
     25                                              4
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      1 shall provide to Plaintiffs’ counsel and the Court experts a Status Report

      2
          addressing each item of the Remedial Plan and shall specify whether it believes it
          is or is not in substantial compliance with each material component of the
      3
          Remedial Plan.2
      4
          C.      Court Experts
      5
                  13.   Pursuant to Rule 706 of the Federal Rules of Evidence, the parties
      6 jointly request the appointment of Todd Wilcox, M.D., Roberta Stellman, M.D.,

      7 and Jeffrey Schwartz, Ph.D. and Gary Raney, as Court experts to advise the Court

      8 on the County's compliance or non-compliance with the medical care, mental
          health care and use of force provisions, respectively, of the Remedial Plan, to assist
      9
          with dispute resolution matters addressed in paragraphs 28-31, and to provide
     10
          testimony, if required, in any proceedings before the Court.
     11
                  14.   Within 180 days after entry of this Consent Decree, and then every
     12 180 days thereafter during the term of this Consent Decree, the Court experts shall

     13 each complete comprehensive reviews and reports (“180-Day Reports”) to advise

     14 the parties and the Court on Defendant's compliance or non-compliance with the

     15 Remedial Plan.
                  15.   In each 180-Day Report the experts shall state their opinion as to
     16
          whether Defendant is or is not in substantial compliance with each material
     17
          component of the Remedial Plan within the expert’s area of expertise. These
     18
          opinions are hereinafter referred to as “Substantial Compliance Determinations.”
     19 The 180-Day Reports shall be considered separate and apart from any evaluations

     20 and reports prepared as part of the dispute resolution process described below and

     21 shall be admissible in evidence in any proceedings before the Court.

     22
                  16.   The experts’ duties specified in Exhibit B shall be provided to the
          experts pursuant to Rule 706(b). The Court experts shall be entitled to reasonable
     23
          2
              For purposes of this Consent Decree a “material component” of the Remedial
     24 Plan shall be any of the subparts of the Remedial Plan identified by a capital letter
          (e.g., “D. Medical Records”).
     25                                             5
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      1 compensation in an amount approved by the Court, which shall be paid by

      2
          Defendant.
                17.    With appropriate notice, the Court experts shall have reasonable
      3
          access to all parts of any San Bernardino Jail and access to the facilities will not be
      4
          unreasonably restricted. The experts shall have access to correctional and health
      5
          care staff and inmates, including confidential and voluntary interviews as they
      6 deem appropriate. The experts shall also have access to documents, including

      7 budgetary, custody, and health care documents, and institutional meetings,

      8 proceedings, and programs to the extent the experts determine such access is
          needed to fulfill their obligations. The experts’ tours shall be undertaken in a
      9
          manner that does not unreasonably interfere with jail operations as reasonably
     10
          determined by jail administrators.
     11
                18.    The parties agree that they are each entitled to engage in ex parte
     12 communications with the Court experts. However, all of the experts’ findings and

     13 recommendations shall be set forth in writing in their reports.

     14         19.    If, for any reason, a designated Court expert can no longer serve or the

     15 parties wish to engage any additional expert(s), the parties shall attempt to agree on
          who shall be appointed to serve as a new or additional expert. If the parties are
     16
          unable to agree, Defendant and Plaintiffs shall each nominate and submit two
     17
          potential experts for the Court’s consideration and selection.
     18
          D.    Notice to Class Members
     19         20.    Defendant shall post notices to class members of this Action in a
     20 manner agreed upon by the parties. Such notices shall include a brief statement

     21 that includes a description of Plaintiffs’ claims, the definition of the classes and

     22
          subclasses, notice that the parties have entered into this Consent Decree, a
          description of the subject areas covered by the Consent Decree and Remedial Plan,
     23
          and the contact information for the Prison Law Office to allow inmates to contact
     24
          Plaintiffs’ counsel.
     25                                              6
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      1 ///

      2
          E.    Plaintiffs’ Monitoring and Access to Information
                21.    Plaintiffs shall be permitted to monitor Defendant’s compliance with
      3
          the Remedial Plan. Defendant shall provide Plaintiffs with access to all such San
      4
          Bernardino Jail facilities, documents, records, and staff that Plaintiffs believe in
      5
          good faith is necessary to monitor Defendant’s compliance with the Remedial Plan
      6 subject, where applicable, to the protective order agreed upon by the parties,

      7 entered by the Court on October 18, 2016, and attached hereto as Exhibit C.

      8 Plaintiffs shall not be entitled to personnel records, including records and
          information deemed confidential pursuant to California Penal Code § 832.7. From
      9
          and after the date this Consent Decree is entered by the Court, Defendant shall
     10
          provide Plaintiffs with access to such information within 21 calendar days of their
     11
          request. If Defendant believes that the information requested by Plaintiffs is not
     12 necessary to monitor compliance with the Remedial Plan, the parties shall engage

     13 in the dispute resolution process described in paragraphs 28-31, below, before

     14 seeking any relief from the Court.

     15         22.    In each of the first two years following the date on which this Consent
          Decree is entered, Plaintiffs and their consultants shall be permitted the
     16
          opportunity to conduct three tours of the San Bernardino Jails for the purpose of
     17
          monitoring compliance with the Remedial Plan. Thereafter, Plaintiffs shall have
     18
          the opportunity to conduct up to two tours of the jails per year, provided however,
     19 that Plaintiffs may bring a motion seeking authorization from the Court to conduct

     20 a third monitoring tour in any given year. Before bringing such a motion,

     21 Plaintiffs shall have complied with the dispute resolution process described in

     22
          Paragraphs 28-31, below. Unless otherwise agreed by the parties or ordered by
          the Court, monitoring tours by Plaintiffs and/or their consultants shall be separated
     23
          by a period of no less than 90 days.
     24
                23.    Monitoring tours shall include reasonable access to all of the jail
     25                                              7
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      1 facilities, including all housing units, facilities where health care services are

      2
          provided, facilities where inmates with disabilities are or may be housed and
          provided programming, and any other facilities where services are provided
      3
          pursuant to the Remedial Plan. During the tours, Defendant shall make available
      4
          for interview any supervisory, clinical, custodial, and program staff that have direct
      5
          or supervisory responsibility for health care and disability accommodations.
      6 Defendant shall provide a Sheriff’s Department contact person to ensure

      7 cooperation of institution staff with Plaintiffs in obtaining information they request

      8 during the tours. During the tours, Defendant shall permit and facilitate Plaintiffs
          having confidential and voluntary discussions with any inmate identified by
      9
          Plaintiffs. Upon request by Plaintiffs and pursuant to the protective order entered in
     10
          this case, Defendant shall make available for inspection and/or copying the health
     11
          care and/or custody files of specified inmates. Disputes that may arise over
     12 Plaintiffs’ access to jail information or personnel shall be addressed in the first

     13 instance by the dispute resolution process set forth in Paragraphs 28-31, below,

     14 before the parties may seek relief from the Court.

     15         24.    If Plaintiffs form the good faith belief that Defendant is not
          substantially compliant with any material component of the Remedial Plan then
     16
          subject to monitoring, Plaintiffs shall so inform Defendant and any relevant Court
     17
          expert of the alleged noncompliance and identify the material component of the
     18
          Remedial Plan alleged to be noncompliant.
     19         Defendant shall investigate the alleged noncompliance and provide Plaintiffs
     20 with a response in writing within 30 calendar days, provided however, that if the

     21 notice from Plaintiffs is provided to Defendant (i) less than 45 days before the next

     22
          anticipated Status Report, then Defendant may elect to include its response in the
          next Status Report; or (ii) less than 45 days before the next anticipated 180-Day
     23
          Report from a relevant Court expert, Defendant may elect to defer responding until
     24
          the expert has made a Substantial Compliance Determination applicable to the
     25                                             8
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      1 material component of the Remedial Plan alleged to be noncompliant.

      2
                25.    Plaintiffs’ counsel retain the ability to interview their clients pursuant
          to regular attorney-client visiting procedures established by the Sheriff’s
      3
          Department. The parties will attempt to establish an efficient means to allow
      4
          Plaintiffs’ counsel to interview clients and conduct confidential telephonic
      5
          interviews with individual inmates, with reasonable notice, in a manner that does
      6 not disrupt jail operations.

      7         26.    Plaintiffs’ counsel shall be allowed to send postage pre-paid
      8 envelopes to their clients in the San Bernardino Jails.
          F.    Individual Advocacy
      9
                27.    Plaintiffs may bring individual inmates’ health care, use of force,
     10
          restricted housing or disability accommodation concerns to the attention of
     11
          Defendant's counsel, or their designee, who shall respond in writing within 14
     12 days. This process is not meant to replace or circumvent the existing processes for

     13 requesting medical or mental health services or submitting grievances to jail

     14 authorities. Inmates will be encouraged to make use of those processes except

     15 where exigent circumstances or failures of those processes have occurred.
          G.    Dispute Resolution
     16
                28.    Either party may initiate the dispute resolution process with respect to
     17
          a matter covered by this Consent Decree by providing written notice of a dispute
     18
          (“Dispute Notice”) to the other party and to mediator Debra Mellinkoff or such
     19 other mediator as the parties may have selected (“Mediator”). The Dispute Notice

     20 shall request that the Mediator schedule a date for mediation that is not less than

     21 90, and not more than 120, days after the Dispute Notice.

     22
                29.    Following service of the Dispute Notice, the parties shall undertake
          good faith negotiations at such times and places as they deem sufficient in an effort
     23
          to resolve the dispute informally between them. If, within 30 days after service of
     24
          the Dispute Notice, the parties have failed to resolve the dispute, either party may
     25                                              9
                                                                     [PROPOSED] CONSENT DECREE
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   1 request that the relevant Court expert evaluate the issue in dispute and prepare a

   2
       report. The expert must provide the report regarding the area of disagreement to
       the parties and the Mediator within 45 days of the request. Defendant will pay the
   3
       experts’ reasonable fees for any reports prepared by a Court expert at the request of
   4
       a party about a disputed issue, as contemplated by this paragraph.
   5
             30.    If the parties are unable to resolve the dispute informally, they shall
   6 attempt to resolve the dispute through the scheduled mediation before the

   7 Mediator. The parties and the Mediator shall conduct the mediation at such place

   8 and in such manner as they shall have agreed upon.
             31.    Mediation shall be deemed to have concluded with respect to an issue
   9
       in dispute if i) the parties agree in writing that mediation is concluded; or ii) upon
  10
       the request of a party, the Mediator determines and so notifies the parties in writing
  11
       that the parties are at impasse, a party is not negotiating in good faith or further
  12 negotiation would be futile.

  13         32.    With the exception of any report prepared by a Court expert, as
  14 contemplated by Paragraph 29, above, and any notice that mediation is concluded,

  15 nothing said and no document prepared in connection with the mediation shall be
       offered in evidence in any subsequent judicial proceeding in this case.
  16
       H.    Enforcement
  17
             33.    The Court shall retain jurisdiction to enforce the terms of this Consent
  18
       Decree and shall have the power to enforce the agreement through specific
  19 performance and all other remedies permitted by law until Defendant fulfills its

  20 obligations under this Consent Decree.

  21 I.      Duration and Termination

  22
             34.    This Consent Decree shall remain in effect for four years from the
       date it is entered by the Court, unless it is earlier terminated pursuant to Paragraph
  23
       35, below.
  24
             35.    Defendant may seek termination of this Consent Decree by bringing a
  25                                              10
                                                                   [PROPOSED] CONSENT DECREE
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   1 termination motion pursuant to 18 U.S.C. § 3626(b)(1)(A)(i), provided however,

   2
       that (i) Defendant shall not bring any such motion for a period of two years from
       the date this Consent Decree is entered by the Court; (ii) any termination motion
   3
       shall be based on a record of no less than one year of substantial compliance with
   4
       all the requirements of this Consent Decree and the Remedial Plan; and, (iii) prior
   5
       to bringing such a motion, Defendant shall have complied with the dispute
   6 resolution process described in Paragraphs 28-31, above.

   7         36.    Defendant may request a finding by the Court that it is in substantial
   8 compliance with one or more material components of the Remedial Plan and shall
       base such request on evidence that it has maintained such substantial compliance
   9
       for a period of at least twelve months, provided that, before requesting such a
  10
       finding, Defendant shall have complied with the dispute resolution process
  11
       described in Paragraphs 28-31, above. Unless otherwise ordered by the Court,
  12 such a finding shall result in a suspension of monitoring of any such material

  13 component(s) by the relevant Court expert and Plaintiffs.

  14         37.    If Plaintiffs form the good faith belief that Defendant is no longer in

  15 substantial compliance with any material component(s) of the Remedial Plan
       previously found to be in substantial compliance and as to which monitoring has
  16
       been suspended, Plaintiffs shall promptly so notify Defendant in writing and
  17
       present a summary of the evidence upon which such belief is based. Within 30
  18
       days thereafter, Defendant shall serve a written response stating whether it agrees
  19 or disagrees that it is no longer in substantial compliance with respect to that

  20 material component of the Remedial Plan. In the event that Defendant agrees,

  21 monitoring by the Court experts and Plaintiffs pursuant to this Consent Decree

  22
       shall resume. In the event Defendant disagrees, Plaintiffs may bring a motion
       before the Court seeking such relief as may be appropriate, including but not
  23
       limited to reinstating full monitoring, provided that, before bringing such a motion,
  24
       Plaintiffs shall have complied with the dispute resolution process described in
  25                                             11
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   1 Paragraphs 28-31, above.

   2
       J.    Costs and Fees
             38.    The parties agree that, by entry of this Consent Decree, Plaintiffs shall
   3
       be considered the prevailing party in this litigation. The Prison Litigation Reform
   4
       Act (“PLRA”), 42 U.S.C. § 1997e, would limit the hourly rates at which Plaintiffs’
   5
       counsel can be compensated in connection with certain claims in the Action, while
   6 other claims are not subject to such statutory limits. Notwithstanding the

   7 foregoing, subject to Court approval, the Parties have reached a compromise and

   8 Defendant has agreed to pay Plaintiffs’ counsel $350,000 as their reasonable fees
       and expenses incurred from the date of filing of the Complaint in this Action
   9
       through Final Approval of the Consent Decree, including approval of the Remedial
  10
       Plan pursuant to the following rates: $420 per hour for attorneys and $200 per hour
  11
       for paralegals.
  12         39.    Plaintiffs shall be compensated for their reasonable time and
  13 reasonable expenses (including the costs of any consultants Plaintiffs may retain)

  14 relating to monitoring this Consent Decree and Remedial Plan, including any time

  15 and expenses incurred in connection with the resolution of any dispute pertaining
       to such monitoring. Subject to both Court approval and Defendant’s right to
  16
       object either to the payment of all or any portion of the fees or to the
  17
       reasonableness of the number of hours for which Plaintiffs may seek
  18
       compensation, and notwithstanding the rates that Plaintiffs potentially could
  19 request or would be limited to in any proceedings before the Court, the parties have

  20 agreed that Plaintiffs’ counsel shall be compensated for monitoring services at the

  21 following rates: $420 per hour for attorneys and $200 per hour for paralegals.

  22
       Plaintiffs shall submit a detailed invoice for their fees and expenses (including the
       date, amount of time spent, and a general description of each task) at the end of
  23
       every quarter and Defendant shall pay the amount requested by Plaintiffs within 60
  24
       calendar days of receipt of each invoice, provided that Plaintiffs’ fees and expenses
  25                                             12
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   1 shall be capped at $150,000 per calendar year. Two years after the approval of this

   2
       Consent Decree Plaintiffs may request that the yearly cap on fees and expenses
       should be increased. That request shall be subject to the dispute resolution process
   3
       set forth in paragraphs 30 and 31, and, if necessary, resolution by the Court. The
   4
       yearly cap on fees and expenses described in the previous sentence shall not apply
   5
       to any fees and costs that Plaintiffs may incur in enforcing or defending the
   6 Consent Decree and the Remedial Plan in court.

   7 K.      Effect of Consent Decree in Other Actions.
   8         40.       Neither the fact of this Consent Decree nor any statement of claims
       contained herein shall be used in any other case, claim, or administrative
   9
       proceedings, except that Defendant and its employees and agents may use this
  10
       Consent Decree and any statement contained herein to assert issue preclusion or
  11
       res judicata.
  12         41.       Nothing in this Consent Decree is intended to modify, revise or
  13 change any existing court orders or decrees applicable to Defendant or to

  14 operations at or inmates housed in the San Bernardino County Jails including, but

  15 not limited to, any orders and decrees in Haas et al. v. Board of Supervisors of San
       Bernardino County et al., San Bernardino Superior Court No. WHC 4010.
  16
       L.    Liability and Necessity for Relief
  17
             42.       Defendant admits for the purpose of this lawsuit only that there exists
  18
       probable cause to believe that violations of the federal rights of plaintiffs have
  19 occurred sufficient to warrant the relief contained herein. The parties agree that the

  20 relief contained herein is narrowly drawn, extends no further than necessary to

  21 ensure the protection of the federal constitutional and statutory rights of Plaintiffs,

  22
       and is the least intrusive means necessary to accomplish those objectives.
       ///
  23
       IT IS SO AGREED AND STIPULATED.
  24
                                                        Respectfully submitted,
  25                                               13
                                                                    [PROPOSED] CONSENT DECREE
  26                                                CASE NO. 5:16-CV-00355 VAP (DTBX)
Case 5:16-cv-00355-VAP-DTB Document 106 Filed 12/14/18 Page 14 of 15 Page ID
                                 #:1130


   1

   2
       Dated: March 29, 2018                   PRISON LAW OFFICE
                                               By: /s/ Donald Specter
   3
                                                      Donald Specter
   4                                                  Margot Mendelson
                                                      Sara Norman
   5                                           Attorneys for Plaintiffs, on behalf of
                                               themselves and others similarly
   6                                           situated
   7
       Dated: March 29, 2018                   FUTTERMAN DUPREE DODD
   8
                                               CROLEY MAIER LLP
   9                                           By: /s/ Martin H. Dodd
                                                      Martin H. Dodd
  10
                                               Attorneys for Defendant
  11                                           San Bernardino County

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                                                           [PROPOSED] CONSENT DECREE
  26                                       CASE NO. 5:16-CV-00355 VAP (DTBX)
Case 5:16-cv-00355-VAP-DTB Document 106 Filed 12/14/18 Page 15 of 15 Page ID
                                 #:1131


   1                                          ORDER

   2
             The Court, having considered the foregoing stipulated Consent Decree,
       hereby approves and adopts the Consent Decree as the Order of the Court and, in
   3
       so doing, finds that the relief contained herein is narrowly drawn, extends no
   4
       further than necessary to ensure the protection of the federal constitutional and
   5
       statutory rights of Plaintiffs, and is the least intrusive means necessary to
   6 accomplish those objectives.

   7         The Court specifically authorizes the appointment, pursuant to FRE 706(b),
   8 of Todd Wilcox, M.D., Roberta Stellman, M.D., and Jeffrey Schwartz, Ph.D. and
       Gary Raney, as Court experts to advise the Court on the County's compliance or
   9
       non-compliance with the medical care, mental health care and use of force
  10
       provisions, respectively, of the Remedial Plan, to assist with dispute resolution
  11
       matters as prescribed in the Consent Decree, and to provide testimony, if required,
  12 in any proceedings before the Court. Subject to the approval of the Court, the

  13 Court experts shall be entitled to reasonable compensation at the rates set forth in

  14 Exhibit B to the Consent Decree and to reimbursement for reasonable expenses

  15 incurred in connection with their duties, which shall be paid by Defendant.

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  17
       Dated: December 14, 2018                _______________________
                                               Honorable Virginia A. Phillips
  18                                           United States District Judge

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                                                                   [PROPOSED] CONSENT DECREE
  26                                               CASE NO. 5:16-CV-00355 VAP (DTBX)
